Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 1 of 21



      Allen Singer, M.D.
      7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825

      September 30, 2018

      Noah Silverman, Esquire
      Spencer Price, Esquire
      Foreman Friedman, PA
      South Biscayne Blvd, Suite 2300
      Miami, FL 33131

       Dear Mr. Silverman and Mr. Price,

       RE: Sosa vs. Carnival Corporation

      At your request, I have performed a Comprehensive Psychiatric
      Evaluation on Ms. Ruby Sosa. As part of this evaluation I reviewed the
      documents made available to me as well as interviewed Ms. Sosa on
      September 29, 2018 2018 at my office at 7800 Red Road, Suite 200, South
      Miami, Florida. The focus of this psychiatric evaluation is two-fold:

      The focus of this review is two-fold:

             1.          To assess whether Ms. Sosa suffered any psychiatric injury
                         or complications related to the injury that occurred on April
                         27, 2017, on the Carnival ship Freedom and if so, to give an
                         opinion on the severity and prognosis of this possible injury.

             2.          To assess any factors that may influence or may have
                         influenced the presentation of her symptoms or her clinical
                         course.

      Summary of Case:

      Ms. Ruby Rosa is a 50-year-old woman who on April 27, 2017 was injured
      when she slipped in the buffet area on the Lido deck of the Carnival
      Freedom. As a result of the fall, she suffered a complete tear of her right
      hamstring muscles as well as other physical injuries. She also is claiming
      significant emotional/psychiatric injury as a consequence of the fall and it’s
      sequellae.


                                                     1
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 2 of 21



      Allen Singer, M.D.
      7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825



      History as told by Ms. Sosa:

      Ms. Sosa stated she was in her usual state of largely good physical and
      psychological health (discussed later) until her accident on the Freedom.
      She had gone on the five-day cruise with her daughter Elvira, who had been
      given the cruise for two as a bonus at work. The first days of the cruise were
      pleasant and uneventful.

      Ms. Sosa stated that on the evening of the accident her daughter and she had
      returned from an excursion. They showered, went to a bar, had 1-2 drinks
      (“definitely not drunk”) and went to the buffet. Ms. Sosa stated her
      daughter and she went in opposite directions at the buffet, scouting out their
      dinner and dessert. Ms. Sosa stated she turned around to see her daughter,
      took a step, and suddenly fell down.

      She stated she went into a complete split, then fell to the left. She was not
      sure if she hit her head. She immediately felt tremendous pain (“worst pain
      in my life next to having babies”) and remembered immediately crying.
      She stated it became chaotic. She described staff trying to help her get up
      but the pain being too severe for her to do so. She heard someone calling for
      a stretcher. She stated a stranger came over, held her hand, and said that she
      was going to be fine and that he was praying for her.

      After what she felt like was “forever,” she was helped onto a stretcher and
      taken to the medical clinic. “I remember the noise, the chaos, took so
      long… a little blurry in detail.” She felt pain in her leg, arms and back.

      In the clinic she remembered being scared. She was examined and given
      ibuprophen (she was not sure if they did x-rays). She was taken back to her
      room. Her daughter was able to obtain a wheelchair and they stayed in their
      room or took the wheelchair to meals for the rest of the trip.

      Ms. Sosa stated she hurt her wrist and arm, knee, back and leg. There was
      extensive swelling and bruising of her leg that ultimately went all the way
      down to her foot.



                                                     2
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 3 of 21



      Allen Singer, M.D.
      7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825

      As she felt unable to fit into her small car, her husband picked her up in their
      pickup truck and drove back to San Antonio.

      In San Antonio they went to an emergency room; they briefly evaluated her
      and referred her to her primary care doctor. She saw her primary care doctor
      and reportedly upon seeing the extent of bruising, sent her to the Baptist
      hospital. They took X-rays and referred her back to the primary care doctor.
      Ms. Sosa stated that the primary care doctor suggested she obtain an attorney
      as she felt that was the best way to expedite her care. Ms. Sosa did so and
      her attorney in San Antonio referred her to Dr. Clemence.

      Ms. Sosa explained the process of referrals took 4-6 weeks. Dr. Clemence
      ordered multiple MRIs and found that she had a complete rupture/tear of her
      right hamstring muscles.

      Ms. Sosa went to physical therapy and tried to arrange surgery.
      She was given a medical opinion that “the tissue grew back but not the
      tendons” and that she was not a candidate for surgery. Ms. Sosa elaborated
      that last week she obtained another opinion regarding surgery and that they
      agreed she was not a surgical candidate, suggesting she use a cane (“the
      muscle was dead, not repairable”).

      Ms. Sosa stated the pain in her wrist, knee and ankle totally resolved over
      time. She reported the pain in her shoulder, back and leg have not. In
      addition, she reported teeth grinding. Ms. Sosa explained that the pain from
      her hamstring tear has improved (“somewhat better over time, fewer
      extreme days”) but that the pain from her back and shoulder have worsened.
      She reported that she has been told she has a torn rotator cuff muscle in her
      shoulder and will require surgery. She said that her lower back pain is most
      problematic.

      Ms. Sosa described suffering from ongoing and at times severe levels of
      pain. She said that even with medicine the pain in her back is a 7/10 and by
      the end of the day is an 8-8.5/10 pain. She stated she limited herself to one
      Tylenol with codeine daily as she is afraid of addiction; she often takes the
      medication in the evening when the pain is at its worst.



                                                     3
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 4 of 21



      Allen Singer, M.D.
      7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825

      She reported the pain and limitation brought on by the pain have been
      extremely difficult. Whereas she was extremely active before, walking her
      dogs, working in the garden and regularly going dancing with her husband,
      her movement is now limited by pain. The chronic nature of the pain and
      her limitations “make me sad.” She stated her self-esteem has been
      damaged as she needs much more support. She said that she was forced to
      close her cleaning business as she was unable to continue to do the work. “I
      get frustrated, it’s changed me.” She stated her chronic level of insomnia
      has been worsened by pain and she has occasional bad dreams of slipping
      (“not a nightmare but upsetting”). She is more irritable, less motivated and
      more withdrawn. She stated that as a result of the pain she is unable to have
      sexual relations with her husband. She is worried about their relationship
      because unfairly directs her anger and frustration at her husband, Ray.

      “I miss my activities…I get so angry… cry to let (the frustration) out… I am
      so over it.”

      She stated most of her psychological symptoms are due to the pain and
      frustration with not being able to do what she had previously done easily.
      She stated her interests are down due to pain and that the pain sometimes
      impacts her concentration. She has gained 10-12 pounds as her movement is
      limited. She reported that her panic disorder may be worse.

      She denied suicidal feelings or appetite changes. She denied nightmares
      (though did have occasional bad dreams about slipping), flashbacks,
      dissociative symptoms, avoidant symptoms or hypervigilance. She noted
      that she had always been an anxious, high strung person but that she now
      additionally worries about falling on stairs or slipping on wet surfaces. She
      further explained that she is anxious on steps as her balance is sometimes
      off; she reported that she is also extremely careful when it rains.

      She started seeing a therapist, Mr. Hardy-Holly, recently, at the suggestion
      of one of her lawyers. She stated they have met on 3-4 occasions and that
      the therapy has been helpful. She reported that they have focused on
      learning skills to deal with her panic and anxiety attacks, “to deal with
      anxieties, anxiousness, whatever I have, depression.” She stated that when
      she has panic attacks she hyperventilates and gets short of breath; Mr.


                                                     4
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 5 of 21



      Allen Singer, M.D.
      7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825

      Hardy-Holly has successfully taught her techniques to “walk my way
      through it.” “While I am there (in a panic attack), I try to remember what he
      is teaching me, how to relax and sleep, find peace when I am having
      agitations and craziness.”

      Ms. Sosa stated she is extremely sad about the state of her sexual
      relationship with her husband as well as her overall state of decreased
      physical energy and wellness. Her main ongoing psychological hurdle is her
      ongoing anger and frustration with her limitations. She described waves of
      anger and agitation “because the ways things are… because of the fall… it
      goes back to that day… Mad that fall has changed my whole life.” “Mad
      and frustrated, feel bad and guilty I take it out on Ray…I get really upset.

      “Something is wrong, I have a lot of sadness and disappointment… I feel
      like lashing out… My life has changed, that’s all.”
      Ms. Sosa remains hopeful, “I have my faith, at the end of the day I will
      figure out how to deal with it,” but is discouraged with a lack of a clear path
      towards recovery.

      Family and Social History:

      Ms. Sosa was born in Chicago but was raised from age 3 in San Antonio,
      Texas. Her father was a carpenter and landscaper; he died of a brain
      aneurism in 2016. Her mother has worked in various retail stores and still
      lives in San Antonio. She has an older brother and younger sister, both of
      whom are well.

      Ms. Sosa was married at age 14 to Luis after becoming pregnant by him.
      She dropped out of school in eighth grade. They had three children, Elvira
      Gonzalez (35, works in real estate in San Antonio), Bonnie Gonzalez (33,
      accountant for iheart radio) and Samuel Gonzalez (19, in aviation
      school/aeronautics). Samuel recently fathered a child who lives with the
      mother. Ms. Sosa later got her GED from San Antonio College and took a
      couple of college level courses. Ms. Sosa characterized her first husband as
      an “abusive, alcoholic, drug abusing womanizer” and noted that she “stayed
      too long.” She started working, saving money and got out of the marriage.
      “I had a son and didn’t want him to follow the father.” After their divorce,


                                                     5
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 6 of 21



      Allen Singer, M.D.
      7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825

      Luis “spiraled out of control” and ended up in and out of jail. He is
      currently out of prison and her daughters are in “cautious” contact with him.

      She met her current husband, Ray, in 2005. They were married in 2013.
      Ray has three children from his first marriage; she considers them to be her
      children.

      Ms. Sosa initially worked as a leasing agent and then leasing assistant
      manager; she has had various jobs over the years including sales and
      property management. She and Ray moved into his house in Atkins, Texas,
      a suburb of San Antonio and have moved in and out of that house since,
      renting the house when needed. They are currently living in the house again.

      In 2012 she and Ray opened a tire repair business for commercial trucks
      “All in One Pros”). It was an extension of an earlier business Ray had with
      his first wife; as such the company was put entirely in Ms. Sosa’s name.
      They started with one truck and worked up to five trucks. Ms. Sosa stated
      their business has been hurt by her injury as she has not been able to keep up
      with her prior responsibilities.

      Ms. Sosa also opened up a house cleaning business in 2016. Ms. Sosa stated
      that she did the cleaning herself and did one house a day for an average of 1-
      3 time per week. Some weeks she had no business. She stated she had to
      close this business as she was unable to continue to clean after the injury.

      Past Medical and Psychiatric History:

      Ms. Sosa stated she had a history of panic attacks since 2006. She called
      EMS for the first one. She has taken alprazolam intermittently since then
      (“don’t want to get addicted”). She stated a prescription for 30 alprazolam
      lasted her around 2-3 months. Ms. Sosa characterized herself as an anxious
      person her whole life, fearful of travel by planes and of new places.

      Ms. Sosa said that she had a clinical depression around 1995, when her girls
      were about ten. She stated it was related to episodes of her being abused
      by her grandfather and also an uncle when she was about the same age as her
      children. She went on antidepressants and found them to be helpful but


                                                     6
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 7 of 21



      Allen Singer, M.D.
      7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825

      noted they made her feel numb. She stopped the medication due to the
      numbness “and eventually came out of it.”

      In 2006 she suffered from pain and was diagnosed with fibromyalgia.
      She suffered with a recurrence in 2013-2014. She has taken medication
      intermittently for the fibromyalgia (Lyrica or gabapentin).

      Ms. Sosa currently takes Tylenol #3, on average one daily; naproxen;
      ibuprophen 800; alprazolam as needed; trazodone 100mg at bedtime; CBD
      oil regularly (“take it quite a bit, helps to calm”).

      Ms. Sosa denied regular use of alcohol or drugs.

      Family History:

      Ms. Sosa reported that her daughter also suffers from panic attacks.

      Mental Status Exam:

      Ms. Sosa arrived on time with her husband and was casually and
      appropriately dressed. She was pleasant and cooperative from the start.

      Her affect was broad, though a bit reserved, and appropriate to content. She
      became tearful twice during the interview, once when discussing her
      frustration with her limitations and once when discussing her sadness that
      she is disappointing her husband. She was pleasant through most of the
      interview and did not appear clinically depressed. She was clearly deeply
      sad with her described state of limitations and pain, especially when
      compared to her previous level of activity.

       She was alert and oriented. She exhibited normal sustained attention and
      concentration throughout the interview. She was of average or above
      average intelligence. Her thought process was clear and coherent.




                                                     7
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 8 of 21



      Allen Singer, M.D.
      7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825

      When recounting the accident, she was calm and did not appear to be under
      any duress. When discussing her long wait for help after she had fallen,
      she was serious but did not demonstrate any signs of psychological
      vulnerability.

      Ms. Sosa’s biggest concern was with her limitations and their effect on her
      marriage and other relationships. She explained that she attempts to push
      herself through the pain but that she is limited by her pain and fear of further
      pain. She said, “Worry we were this couple- and now we’re not the same.”

      She denied suicidal ideation at any point since the accident.

      Record Review:

         1. Complaint and Demand for Jury Trial

      The complaint stated that on April 27, 2017 Ms. Ruby Sosa was a passenger
      on the Carnival Freedom and slipped on a puddle of water in the buffet area.
      The complaint alleges that as a result of her fall, she suffered severe injuries
      and mental pain as well as aggravation of a pre-existing condition.

         2. Defendant’s Answer to Plaintiff’s Complaint and Demand for
            Jury Trial

         3. Deposition of Ruby Sosa, August 1, 2018

      Ms. Sosa stated as a result of the injury she can only work 2-3 days a week.

      Ms. Sosa stated she always has pain in her lower back, leg and shoulder.
      She said that she also had anxiety and depression. She reported taking
      naproxen, alprazolam as needed and gabapentin. She reported “anxieties”
      and panic attacks as well as fibromyalgia (for at least five years) prior to the
      accident.

       Ms. Sosa recounted how she was injured on the fifth night of the cruise in
      the buffet area of the Lido Deck. Ms. Sosa stated she had one or two drinks
      prior to the fall. She reported slipping and falling (“legs went split and then


                                                     8
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 9 of 21



      Allen Singer, M.D.
      7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825

      my right leg went to the front… then I fell to the left.”). She did not
      remember if she hit her head or was rendered unconscious. She remembered
      crying and the someone asking to get her a stretcher and taking her to the
      medical clinic of the ship.

      Ms. Sosa said that as a result of her fall she hurt her left wrist, elbow and
      shoulder and her right hamstring and hip. She stated her left wrist and elbow
      were completely better. She received a shot to her left shoulder. She stated
      she also tore her right hamstring. She reported that her worst pain is from the
      hamstring injury and lower back.

      She stated that she was not told the accident worsened her fibromyalgia.

      She noted that she has not seen a psychologist or psychiatrist but that Dr.
      Gruesbeck referred her to pain management and psychiatry.

      Ms. Sosa stated that as a result of her injuries she has had a limited capacity
      to do her activities such as gardening, walking her dogs and dancing.

      Ms. Sosa stated she carried her own bag through the airport.

         4. Carnival Freedom, Medical Note, 4/27/17

      “Guest fell down on the floor, and stretch the right leg, she complaining of
      very strong pain in the back thigh, elbow and head. … bruises were observed
      on the back thigh.”; “…due to the momentum she eventually hit her head as
      well. No loss of consciousness.” She was diagnosed as having a contusion
      of lower back and pelvis, contusion of elbow, injury of muscle and tendon of
      posterior muscle group at thigh level, contusion of other parts of wrist and
      hand.

        5. Plaintiff’s Certificate of Service of Verified Answers Defendant’s
      To Initial Interrogatories

      Ms. Sosa stated that as a result of her injury she was forced to close her
      cleaning business.



                                                     9
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 10 of 21



       Allen Singer, M.D.
       7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825

          6. Plaintiff’s Rule 26 Interrogatories

          7. American Dynamic Imaging

       Multiple studies including, normal knee MRI; right hamstring MRI of
       5/23/17- “A complete rupture of the conjoined hamstring tendon is seen
       with retraction of the musculotendinous junction as well as a large
       hematoma with edema of the semimembranosus and semitendinosus
       muscles”; MRI of Lumbar Spine- “Subluxation of L4-5, 3mm disc bulge of
       L4-5 and L5-S1.”

          8. Elliot Clemence, MD, Medical Records
       Letter of 5/31/17- “Surgical intervention has been recommended (right
       hamstring repair)."”

       5/31/17 Progress note leading to recommendation for open hamstring repair.
       5/8/17 Evaluation of pain, recommendations for studies.

          9. Carabin and Shaw, Counselors

       Enclosed was 11/15/17 letter to Carnival concerning the costs of a surgical
       repair.

          10. Medical Records, Internal Medicine of Stone Oak (Lubna
             Naeem, MD)

       5/1/17 “Patient fell down while on cruise.”; Xanax and buspirone renewed;
       ibuprophen 800mg renewed; ; referred to ER due to extensive ecchymosis
       5/3/17 orthopedic referral for ankle pain and ecchymosis right thigh
       5/23/17 seen for left wrist and shoulder pain; also notes “anxiety/depression”
       and further noted “denies suicidal ideation, able to maintain relationships,
       does not interfere with activities of daily living, duration chronic,
       Context major life stressors,” “emotional lability, anxiety, hypersensitivity,
       anxiety with muscle tension. …Patient is a follow-up of fall at present she is
       reporting that she has hired an attorney who is requesting an MRI,
       Complains of vague pains…. Reports anxiety but no depression. ”
       Ms. Sosa is referred to mission hospital for follow-up of muscle pain.


                                                      10
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 11 of 21



       Allen Singer, M.D.
       7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825




          11. Jim Sher, D.C. Medical and Billing Notes, “P.I.HELP”

       These were notes from chiropractic treatment following the injury.

          12. Carnival Claims notes, Miscellaneous Billing documents

          13. North Central Baptist Hospital, Medical Records

       6/1/17 “The patient presents with right, upper leg injury.”
       Evaluated and diagnosed as muscle strain and referred to Dr. Lubna.

          14.Carnival Passenger Injury Statement

       Pt described injuries as noted above.

          15.Plaintiff’s Response to Defendant’s First Request for Production

          16.Plaintiff’s Second Amended Rule 26 Disclosures

          17. SWP South Texas Center for Orthopaedic Care, Medical
             Records (Dr. Clemence)

       7/31/17 Low back pain, sprain of right knee, unspecified rotator cuff injury
       8/28/17 Unchanged
       6/6/18 Diagnoses included right shoulder rotator cuff injury, right hamstring
       rupture, right knee sprain, Lumbar L45, S1 HNP

          18. Plaintiff’s First and Second Supplemental Response to
             Defendant’s First Request for Production

       This section including miscellaneous billing statements, medical progress
       notes and photographs.

       The photographs demonstrated extensive bruising to the right posterior
       thigh/hamstrings, thigh and anterior and posterior calf.


                                                      11
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 12 of 21



       Allen Singer, M.D.
       7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825




          19.Medical Records, Hardy-Holley Team Inc., Donald Hardy-Holly,
             MA, LPC-S, LMFT-S, Psychotherapist

       “Summary letter” of 9/12/18 by Mr. Hardy-Holly stated Ms. Rosa suffered
       from trouble sleeping because of pain and anxiety, as well as a general state
       of depression. “Her experiences with this event and what has followed have
       left her in constant pain and extreme anxiety, which has led to depression.
       Ruby Sosa has the symptoms of Post-Traumatic Stress Disorder due to the
       fall and the events afterwards, as well as Generalized Anxiety Disorder. “

       Also enclosed were billing records for :
       8/22/18 Initial assessment, diagnoses F43.12
       8/29/18 psychotherapy, 60 min
       9/12/18 psychotherapy, 60 min

          20. Medical Records, Harry Hernandez, MD
       5/13/14 “Impression- bruxism, anxiety, BMI 29, sleep disturbance, tobacco
       abuse.”; prescribed flexoril.
       10/2/15 Yearly physical- “Anxiety, grinding teeth at night, facial pain in
       AM... has used trazodone”; noted sleep disturbance, fibromyalgia, anxiety
       3/19/15 “Pt has been highly stressed and can’t sleep well.”
       8/6/14 “Cont’s with bilateral shoulder and back pains, Pain level 5-6”
       6/7/14 X-ray of lumbar and sacral spine ordered for lumbago with
       radiculopathy—lumbar pain and right shoulder pain
       Also enclosed were multiple records for routine medical care
       5/13/14 spine tender, positive straight leg, needs x-ray of spine- refers to
       back injury at work
       4/17/14 continue shoulder and back pain, 6/10
       6/13/14 lumbar spine x-ray—mild facet hypertrophy, most pronounced at
       L5-S1
       6/26/14 MRI of spine- degenerating bulging discs with facet arthropathy at
       L4-L5, bilateral foraminal narrowing L5-S1.




                                                      12
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 13 of 21



       Allen Singer, M.D.
       7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825



          21. Addendum Records via email, Medical Records, Donald Hardy-
             Holley, MA, LMFT, LPC

       9/12/18. Ms. Sosa reported trouble sleeping because of pain and anxiety and
       a general state of depression. He suggested she has the symptoms of Post-
       Traumatic Stress Disorder as well as Generalized Anxiety Disorder NOS.
       He recommended cognitive therapy and hypnoanalysis to help overcome her
       symptoms. “So far, she is responding to treatment. However, this patient
       may need more than the usual number of sessions.”

       9/23/18 Summary note for evaluation on 8/22/18 and visits of 8/29/18,
       9/12/18 and 9/20/18.

       Ms. Sosa described “excruciating pain” that limited her regular activities.
       She recently was told “bad news” that she was not eligible for surgical
       correction of her hamstring injury. “Ms. Sosa’s case is one of the most
       serious I have observed. This one incident is not the total of her traumas.
       When she fell she was seriously mistreated by staff aboard the cruise ship…
       Because Ms. Sosa now has to put under the microscope and asked to
       “relive” her experience, the trauma certainly will be exacerbated.”

       Mr. Hardy-Holley concluded, “Ruby Sosa has the symptoms of Post-
       Traumatic Stress Disorder due to the fall and the events afterwards as well as
       Generalized Anxiety Not Otherwise Specified….it is likely that Ms. Sosa
       will need continuing psychotherapy for at least several months…. a
       minimum of twenty-five more sessions to help her cope appropriately with
       her situation.”

       9/25/18 Medical note stated Ms. Sosa called that morning stating she was
       “crying and anxious and depressed all at once.” He suggested seeing a
       walk-in psychiatrist for help. Ms. Sosa called back later stating she had
       taken medication she had at home already and the medicine was helping.

       Mr. Hardy-Holly recommended a psychiatrist evaluation and suggested she
       needed medication over the next several months. He estimated the cost of
       the psychiatric treatment at “between $450-$1200 minimum” and the cost of


                                                      13
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 14 of 21



       Allen Singer, M.D.
       7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825

       his treatment as between “$3750 up to around $4500, depending on the
       several factors that are for now unknown.”

       Summary of Data and Conclusions:

       1.Ms. Ruby Sosa is a 50-year-old married mother of two with a preexisting
       history of panic disorder, simple phobias, chronic insomnia, anxiety,
       bruxism, fibromyalgia, bilateral shoulder pain and lower back pain with
       radiculopathy who suffered a slip and fall while on the Lido deck of the
       Carnival Freedom.

        As a consequence of the fall, she suffered a rupture of her right hamstring
       muscles. She related she is not a candidate for surgical repair of this injury.
       She also noted that her back pain has become chronic and severe since the
       accident. She stated she requires shoulder surgery for a torn rotator cuff.
       Both of these are attributed to the fall.

       Ms. Sosa also stated that since the accident she has been in chronic 7-8/10
       pain. At times it is more severe. The pain and injury have caused functional
       limitations and she described not being able to perform at her previous level.
       She was forced to close her small cleaning business (she had worked 1-3
       days a week cleaning houses), cannot garden, walk her dogs or lift her
       grandchild. In addition, the pain has significantly impacted her sexual life
       with her husband.

       As a result of the pain and disability, she has a greater level of anxiety than
       before. She related that her panic attacks are more frequent. She described
       herself as frequently irritable, frustrated and angry. At times she feels
       discouraged and depressed. She stated her frustration leads her to withdraw,
       express anger at her husband or at times cry.

       She also related more anxiety going down stairs, recognizing she is more
       unsteady (and fell twice in the 18 months since the accident) and is more
       anxious/concerned with slipping or falling (in the rain or in the shower).




                                                      14
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 15 of 21



       Allen Singer, M.D.
       7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825




       Ms. Sosa’s diagnoses prior to the injury were:

       Panic Disorder, chronic
       Insomnia, chronic (treated with trazodone 100mg)
       Chronic Pain Disorder- Shoulder pain, lower back pain
       Anxiety Disorder Not Otherwise Specified
       Fibromyalgia
       Bruxism
       Simple phobia, flying, mild

       In the years prior to the accident, Ms. Sosa’s PCP, Dr. Hernandez noted:
       10/2/15 Year physical- “Anxiety, grinding teeth at night, facial pain in AM...
       has used trazodone”; noted sleep disturbance, fibromyalgia, anxiety
       3/19/15 “Pt has been highly stressed and can’t sleep well.”

       8/6/14 “Cont’s with bilateral shoulder and back pains, Pain level 5-6”
       6/7/14 X-ray of lumbar and sacral spine ordered for lumbago with
       radiculopathy—lumbar pain and right shoulder pain
       4/17/14 continue shoulder and back pain, 6/10
       6/13/14 lumbar spine x-ray—mild facet hypertrophy, most pronounced at
       L5-S1
       6/26/14 MRI of spine- degenerating bulging discs with facet arthropathy at
       L4-L5, bilateral foraminal narrowing L5-S1.

       As a result of the injury, Ms. Sosa suffered severe and acute pain due to her
       hamstring tear. This has clearly limited her. This pain is somewhat better
       over time but continues to limit her and cause her significant pain.

       Her back pain is also worse and now is the greatest source of pain for her
       (whether this is due to the natural progression of her previous pain or due to
       the accident is beyond the expertise of this examiner).

       Her shoulder pain is also a continuing source of pain and limitation (again,
       whether this is due to the natural progression of her previous shoulder pain
       or due to this injury is beyond the expertise of this examiner).


                                                      15
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 16 of 21



       Allen Singer, M.D.
       7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825



       As a result of pain and limitations, Ms. Sosa has suffered an increase in
       anxiety, and, at times, depressed mood. She related being regularly
       frustrated, angry and sad about her limitations. She stated her chronic
       insomnia is somewhat worse, her libido is down, her concentration is
       impaired by pain and she has gained 12 pounds (due to her limited ability to
       walk). She did not report nightmares, flashbacks, dissociative symptoms,
       avoidant symptoms or hypervigilance (beyond increased anxiety when on
       stairs or faced with slippery surfaces).

        In summary, Ms. Sosa has suffered from chronic pain since the accident.
       The pain in her lower back is the most severe but she also suffers from
       shoulder pain and pain from her hamstring tear. It limits her daily activities
       and has impacted her intimate life and marriage.

       As a result of the pain and frustration, she also reported an increase in her
       baseline level of panic and anxiety. She is frequently sad with her
       circumstances. She stated the pain and frustrated led her to be
       uncharacteristically irritable and angry. It has affected her relationships,
       particularly with her husband.

       Her current diagnostic formulation includes:

       Chronic Pain Disorder- lower back pain, hamstring pain, shoulder pain
       (clearly worsened, with decreased functioning )
       Panic Disorder (somewhat/slightly worse)
       Depressive Disorder NOS (new diagnosis)
       Anxiety Disorder NOS (somewhat worse)
       Insomnia, Chronic (somewhat worse)
       Bruxism (no change)
       Fibromyalgia (no change)
       Simple Phobia (no change)

       Ms. Sosa reports that her pain that has increased since the accident- going
       from a 5-6 in 2014 to 8-8+ now. She claims she is also physically limited by
       the tear in a functional way that she was not prior to the accident.



                                                      16
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 17 of 21



       Allen Singer, M.D.
       7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825

       Ms. Sosa characterized her panic attacks, as well as her general sense of
       anxiety, as also somewhat worse since the accident. This was not evident in
       the medical records, where there is no mention of panic attacks, nor was
       there any objective evidence of an increase in panic attacks.
       The diagnosis of Depressive Disorder NOS (DSM4) is used to describe
       depressive syndromes that do not meet the duration or severity criteria for
       Major Depression or Dysthymia but still cause significant distress in
       important areas of functioning In the DSM5 it is called Unspecified
       Depressive Disorder. This is seen commonly in patients with distress due to
       a medical disorder. Ms. Sosa is sad and angry at her situation but not
       suffering from a significant, ongoing depressive disorder. Anger, grief and
       sadness are appropriate responses to a perceived increased in pain and
       decreased activities and not a psychiatric disorder. When they are regular
       and effect important areas of functioning, the diagnosis of Depressive
       Disorder NOS is given.
       The syndrome of Depressive Disorder NOS relates directly to Ms. Sosa’s
       capacity to manage her pain and limitations. Short term therapy might be
       useful to better manage her symptoms; an antidepressant may be helpful for
       pain, anxiety and mood. I agree with Mr. Hardy-Holly’s expectation of
       approximately 24 sessions over six months and antidepressants for several
       months. The antidepressants (norepinephrine-serotonin reuptake inhibitors)
       could help with pain, mood and anxiety. It is also clear that this therapy
       recommendation would have been the same if this incident had not even
       occured; the majority of her symptoms predated the incident and the increase
       in symptoms since the incident, as described, are significantly less
       substantial than what she already suffered from prior to the accident.
       Her diagnosis of Panic Disorder and Anxiety Disorder NOS predates the
       accident. The pain has somewhat magnified/exacerbated her symptoms. For
       this reason, I added somewhat or slightly worse to those symptom
       complexes that pre- dated the accident but are somewhat worse. The greater
       percentage of her current psychiatric morbidity actually predates the incident
       in question and has been ongoing for years or decades. Essentially all of her
       diagnoses predate the accident.




                                                      17
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 18 of 21



       Allen Singer, M.D.
       7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825

       2.Mr. Hardy-Holly diagnosed Ms. Sosa with Post-Traumatic Stress
       Disorder. He elaborated: (a)“Ms. Sosa’s case is one of the most serious I
       have observed. (b)This one incident is not the total of her traumas. When
       she fell she was seriously mistreated by staff aboard the cruise ship…
       (c)Because Ms. Sosa now has to put under the microscope and asked to
       “relive” her experience, the trauma certainly will be exacerbated.”

          a. Ms. Sosa does not have PTSD.

             A slip and fall injury does not meet the severity criteria for a
             medically significant trauma (explained below). Additionally, not
             only does she not meet the exclusionary/inclusionary “A” criteria for
             PTSD (discussed below), she does not suffer from the requisite
             number and severity of symptoms to meet the criteria for PTSD.
          b. Ms. Sosa did not recount to me any perception of mistreatment by the
             staff. She referred to a delay in getting the stretcher and her being
             evacuated to the medical clinic. This was upsetting but nothing that
             could meet the criteria for a medically significant trauma.
             I do not know, otherwise, what Mr. Hardy-Holly could be referring to
             when he referred to a repeated re-traumatization by staff.
          c. Ms. Sosa easily recounted and thoroughly discussed the entirety of her
             experience without any observable signs of emotional stress
             whatsoever. This is not what is typically seen when someone with
             PTSD recounts her story. She was calm and appropriate during her
             recounting of the entire experience. At one point she was
             appropriately tearful. There was no evidence that there was anything
             traumatic in her experience of recounting her history in our detailed
             three hour plus interview.

              Overall, she did not seem anxious when discussing the details of her
              accident, did not dissociate or show any evidence that recounting the
              story was particularly stressful.
       Post-Traumatic Stress Disorder is a catastrophic mood and anxiety disorder
       that occurs as a result of a significant traumatic event. Examples of trauma
       that might result in PTSD include exposure to death or threatened death,
       sexual assault, warfare. There are specific criteria required to be eligible for



                                                      18
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 19 of 21



       Allen Singer, M.D.
       7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825

       the diagnosis for PTSD. The criteria are exclusionary and meant to limit the
       use of the diagnosis of PTSD to life threatening experiences.

       The “A” criterion for PTSD is exposure to a life threatening or integrity
       threatening traumatic event to a loved one or to oneself. Ms. Sosa slipped
       and fell and hurt herself. She was later found to have torn her hamstring
       muscles and possibly exacerbated her shoulder and back pain. Although
       traumatic in the “lay or nonmedical sense,” this does not come close to
       meeting the severity of trauma required for a diagnosis of PTSD. Based
       on that alone, Ms. Sosa is ineligible for the diagnosis of PTSD (Criterion A).
       Slipping and falling and having acute pain is not considered
       medically/psychiatrically sufficient event to be considered for the diagnosis
       of PTSD.

       To illustrate this further, if Ms. Sosa injury qualified her for PTSD, then
       every person who ever fell or slipped on the ice (or virtually any orthopedic
       accident) could be eligible for the diagnosis of PTSD. This is clearly not
       what is intended.

       Ms. Sosa did not meet the “A” criteria for PTSD so she cannot, by
       definition, have PTSD.

       The total criteria for Post-Traumatic Stress Disorder are quite specific,
       requiring a requisite trauma (Criterion A) and a number and severity of
       symptoms sufficient to impair function. As explained above, she has not
       had a PTSD eligible trauma (A criterion) nor is it documented that she
       meets the other criteria. Although at times she may have panic symptoms or
       suffer symptoms of anxiety related to the accident, they are not sufficient in
       severity nor quantity to meet the subsequent criteria for PTSD. Of note, Ms.
       Sosa also had panic attacks and anxiety prior to the accident. It is expected
       to have more anxiety and increased panic when faced with more pain and
       limitations. Her current symptoms are described as somewhat worse since
       the accident. She denied suicidal feelings or appetite changes. She denied
       nightmares (though did have occasional bad dreams about slipping),
       flashbacks, dissociative symptoms, avoidant symptoms or hypervigilance.
       She stated that she had always been an anxious, high strung person but that
       she now additionally worries about falling on stairs or slipping on wet

                                                      19
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 20 of 21



       Allen Singer, M.D.
       7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825

       surfaces. She further explained that she is anxious on steps as her balance is
       sometimes off. These are not PTSD symptoms but prudent concerns for
       someone at increased risk to fall. Her single symptom that would meet
       eligibility for one criteria of PTSD- increased anxiety when it rains for fear
       of slipping, is not of sufficient severity for a severe psychiatric disorder,
       PTSD. In the entirety of the medical record, there were one or two
       references to worsened mood or anxiety.

       Ms. Sosa does not and did not at any point suffer from PTSD. Rather, she
       suffers from the diagnoses listed above.

       3.Ms. Sosa reported similar symptoms, other than the hamstring injury,
       going back to 2005. Her recent. lumbar MRI, as described, is virtually
       unchanged from the 2014 study done prior to the accident.

       The tear of the hamstring muscles and the functional limitations brought by
       the tear is clearly attributable to her fall.

       Her current and most severe pain, her back pain, was documented as a 5-6
       back to 2014. It is now an 8. There were similar previous findings with her
       bruxism and shoulder pain. It is outside the expertise of this examiner
       whether those symptoms are attributable to the accident or are unrelated and
       an expected progression of previous spinal disease and fibromyalgia.

       Ms. Sosa, though, seemed to attribute all of her pain to the accident. It was
       well documented she had clinically relevant back pain, shoulder pain and
       bruxism prior to the accident. It is highly unlikely that all of her back and
       shoulder pain and bruxism are due to the accident since these medical
       conditions were clearly documented prior to the accident.




       Intentionally left blank




                                                      20
Case 1:18-cv-20957-CMA Document 67-2 Entered on FLSD Docket 11/20/2018 Page 21 of 21



       Allen Singer, M.D.
       7800 SW 57 Avenue, Suite 200 Miami, FL 33143   • Telephone: (305) 279-9313   • Fax: 305 665 9825

       4.Ms. Sosa stated that she felt somewhat better after a couple sessions with
       Mr. Hardy-Holly. He also stated that in his notes. It is likely that she will
       learn to cope better with her pain and symptoms with this psychological
       support. I agree that her expected treatment course would be around 24
       sessions (weekly sessions for six months total duration.) Mr. Hardy-Holly
       recently suggested Ms. Sosa may benefit with brief treatment with a
       psychiatrist. I agree and think it is possible that an antidepressant may have
       benefit across the board- for anxiety/panic, pain and mood. This would
       potentially expedite her overall recovery. None the less, it is clear that the
       vast percentage of her current psychiatric symptoms were present prior to
       the incident and that the treatment recommendations I am making would
       have been appropriate even if this incident had not occurred.

       This evaluation was based on the interview and data made available to me.
       The opinions are made to the level of usual medical certainty and subject to
       change with further information.


       Sincerely,




       Allen Singer, MD
       Diplomat
       American Academy of Neurology and Psychiatry
       ME0064442




                                                      21
